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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNE 1J!QUT

 UNITED STATES OF AMERICA              CR   M1If~ Nb. ·- 7-JR~h(JAM)
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           v.                          VIOliAT.It!>NS:
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                                               I I               I.


 WILLIAM LIEBERMAN                     18 U .S.C. Section 1349
                                       (Conspiracy to Commit Mail and Wire
                                       Fraud)

                                       26 U.S.C. Section 7201
                                       (Tax Evasion)

                                   INFORMATION

      The United States Attorney charges:

                                     COUNT ONE
                     (Conspiracy to Commit Mail and Wire Fraud)

      1.        From in or about January 2010 until in or about July 2016, in the

District of Connecticut and elsewhere, the defendant, WILLIAM LIEBERMAN,

willfully and knowingly did combine, conspire, confederate, and agree with others

known to the United States Attorney to commit mail and wire fraud, in violation of

Title 18, United States Code, Sections 1341 and 1343.

      2.        The object and purpose of the conspiracy was for LIEBERMAN and his

co-conspirators to enrich themselves by knowingly and willfully devising and

intending to devise a scheme to defraud investors and to obtain money from these

investors by means of materially false and fraudulent pretenses, representations, and

promises, and to use the mails and interstate wires in execution of that scheme.

      3.        The manner and means by which LIEBERMAN and his co-conspirators

executed the conspiracy and scheme to defraud included: (a) inducing investors to
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purchase securities by making false and misleading representations concerning the

securities and the issuing companies; (b) causing the price of those securities to

become falsely inflated; (c) causing to be sold the positions in those securities of

conspirators and their designees at those falsely inflated prices, thereby enriching

the members of the conspiracy; and (d) thereafter allowing the price of the securities

to fall, leaving investors with worthless and unsalable stock.

      All in violation ofTitle 18, United States Code, Section 1349.

                                    COUNT TWO
                                    (Tax Evasion)

      4.      During 2011,2012, and 2013, LIEBERMAN was a resident ofNew York.

During 2014 and 2015, LIEBERMAN was a resident of Florida.

      5.      Substantially all of LIEBERMAN's income was the proceeds of criminal

activity, namely the conspiracy to commit mail and wire fraud described in Count

One of this Information.

      6.      LIEBERMAN willfully attempted to evade federal income taxes he owed

the United States of America for calendar year 2014 by, among other means, (a)

diverting his share of the scheme's proceeds into accounts in the names of various

shell entities under LIEBERMAN's control, rather than into a bank account in his

own name; (b) withdrawing cash from those accounts; (c) paying personal expenses

from those accounts; and (d) dramatically underreporting his income on the U.S.

Individual Income Tax Return, Form 1040, that he filed with the Internal Revenue

Service for calendar year 2014. As a result of these affirmative steps, LIEBERMAN

reported only $30,000 in income and paid only $2,528 in federal income taxes in

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calendar year 2014. In fact, as LIEBERMAN then and there knew, in 2014 his total

taxable income was $436,904, and he owed the United States of America $171,800 in

federal income taxes, resulting in an underpayment of $169,272.

      All in violation of Title 26, United States Code, Section 7201.




UNITED STATES OF AMERICA




UNITED STATES ATTORNEY




AVIM. PERRY
ASSISTANT UNITED STATES ATTORNEY




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